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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

FTX TRADING LTD., et al., 1                                       Case No. 22-11068 (JTD)

         Debtors.                                                 (Jointly Administered)

ALAMEDA RESEARCH LTD., WEST REALM
SHIRES, INC., and WEST REALM SHIRES
SERVICES, INC.

                                     Plaintiffs,
                                                                  Adv. Pro. No. 23-50379 (JTD)
                          -against-

ROCKET INTERNET CAPITAL PARTNERS II
SCS, ROCKET INTERNET CAPITAL
PARTNERS (EURO) II SCS, GFC GLOBAL
FOUNDERS CAPITAL GMBH, GFC GLOBAL
FOUNDERS CAPITAL GMBH & CO.
BETEILIGUNGS KG NR. 1, WILLIAM
HOCKEY LIVING TRUST, and 9YARDS
CAPITAL INVESTMENTS II LP,

                                     Defendants.

ALAMEDA RESEARCH LTD., WEST REALM
SHIRES, INC., and WEST REALM SHIRES
SERVICES, INC.,

                                      Plaintiffs,

                          - against -
                                                                  Adv. Pro. No. 23-50380 (JTD)
MICHAEL GILES, et al.,

                                      Defendants.



1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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 ALAMEDA RESEARCH LTD., WEST REALM
 SHIRES, INC., and WEST REALM SHIRES
 SERVICES, INC.,

                               Plaintiffs,

                     - against -
                                                     Adv. Pro. No. 23-50381 (JTD)
 SAMUEL BANKMAN-FRIED, NISHAD
 SINGH, and ZIXIAO “GARY” WANG,

                               Defendants.


              NOTICE OF AGENDA FOR HEARING SCHEDULED FOR
 JULY 19, 2023, AT 1:00 P.M. (ET), BEFORE THE HONORABLE JOHN T. DORSEY AT
      THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
     DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5TH FLOOR,
              COURTROOM NO. 5, WILMINGTON, DELAWARE 19801

         ALL PARTICIPANTS, INCLUDING ATTORNEYS INTENDING
   TO PRESENT AT THE HEARING AND WITNESSES, MUST BE PHYSICALLY
     PRESENT IN THE COURTROOM. ANY NON-PARTICIPANT MAY VIEW
 THE HEARING VIA ZOOM BY REGISTERING IN ADVANCE AT THE LINK BELOW
                   BY JULY 19, 2023 AT 11:00 A.M. (ET)

          Non-participants, please use the following link to register for this hearing:

https://debuscourts.zoomgov.com/meeting/register/vJIsce-vqT0tHo5vVMGLWUX9pu_nZxCCUSg

         After registering your appearance by Zoom, you will receive a confirmation
                   email containing information about joining the hearing.

                   Topic: FTX Trading Ltd., et al. - Case No. 22-11068 (JTD)
                            When: July 19, 2023 at 1:00 p.m. (ET)

         YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM
             OR YOU WILL NOT BE ALLOWED INTO THE MEETING.


 ADJOURNED MATTERS:

 1.     Summons and Notice of Pretrial Conference in an Adversary Proceeding [Alameda
        Research Ltd. v. Samuel Bankman-Fried., et al., Adv. No. 23-50381 (JTD) – Adv. D.I. 3,
        filed on May 24, 2023]

           Status: This matter is adjourned to the hearing scheduled for August 23, 2023 at 1:00
           p.m. (ET)
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2.       Motion of the Debtors for Entry an Order (I) Enforcing the Automatic Stay and (II)
         Awarding the Debtors Attorneys’ Fees and Expenses [D.I. 1417, filed on May 3, 2023]

         Status: The parties have entered into a settlement agreement that has been submitted to
         the Court for approval. If approved, the settlement will resolve the motion.

3.       Motion for the Entry of an Order (I) Authorizing and Directing the Debtors to Return
         Certain Postpetition Cryptocurrency Deposits to D1 Ventures and (II) Granting Related
         Relief [D.I. 1584, filed on June 8, 2023]

         Status: This matter is adjourned to the hearing scheduled for August 23, 2023 at 1:00
         p.m. (ET)

4.       Motion of 101 Second Street, Inc. for Allowance and Payment of Administrative Claim
         Pursuant to 11 U.S.C. §§ 503 (b)(a), and 507(a) [D.I. 1802, filed June 29, 2023]

         Status: This matter is adjourned to the hearing scheduled for August 23, 2023 at 1:00
         p.m. (ET)

RESOLVED MATTERS

5.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Alameda
         Research Ltd. v. Rocket Internet Capital Partners II SCS., et al., Adv. No. 23-50379
         (JTD) – Adv. D.I. 3, filed on May 30, 2023]

         Status: A scheduling order has been filed and submitted under certification of counsel in
         accordance with the Court’s procedures. Accordingly, a hearing on this matter is no
         longer required, unless the Court has any questions.

6.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Alameda
         Research Ltd. v. Michael Giles., et al., Adv. No. 23-50380 (JTD) – Adv. D.I. 3, filed on
         May 24, 2023; Adv. D.I. 4, filed on May 30, 2023; Adv. D.I. 5, filed on May 31, 2023;
         Adv. D.I. 7, filed on June 14, 2023]

         Status: A scheduling order has been filed and submitted under certification of counsel in
         accordance with the Court’s procedures. Accordingly, a hearing on this matter is no
         longer required, unless the Court has any questions.

MATTERS GOING FORWARD:

7.       Motion of Debtors for Entry of an Order (A) Authorizing FTX Canada Inc. to Enter into
         Settlement Agreement with Pateno Payments Inc. and Bitvo Inc., (B) Approving the
         Settlement Agreement, and (C) Granting Related Relief [D.I. 1795, filed June 28, 2023]

         Response Deadline: July 12, 2023 at 4:00 p.m. (ET); extended to July 14, 2023 at 12:00
         p.m. (ET) for the Office of the United States Trustee
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         Responses Received:

         A.       Informal comments from the Office of the United States Trustee

         Related Documents: None

         Status: The Debtors intend to file a declaration and revised form of order under
         certification of counsel prior to the hearing to resolve informal comments received from
         the Office of the United States Trustee. Accordingly, the parties do not believe a hearing
         on this matter is necessary, unless the Court has any questions.


Dated: July 17, 2023                              LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                                  /s/ Matthew R. Pierce
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                                                  Kimberly A. Brown (No. 5138)
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                                                  -and-

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                                                  Counsel for the Debtors
                                                  and Debtors-in-Possession



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